EXHIBIT C
Michael Slodov

From:                            Michael Slodov
Sent:                            Wednesday, September 4, 2019 12:05 PM
To:                              tylerhickle@hicklelegal.com
Subject:                         Re: Gilani v Javitch Block LLC 1:19-cv-00827-LY


Tyler -

While I may be wrong, it appears to me that this claim is not time-barred for at least two reasons.

First, the claim against your client concerns a promissory note governed by a six year statute. Tex. Bus. & Com.
Code Ann. § 3.118.

Second, see page JBLLC 018, showing last payment date of 9/15/16; see also page JBLLC0025, electing Ohio
law to govern.

Texas courts would apply Texas choice of law rules to identify law governing this obligation for determining
the effect of partial payments. Butler v. Merchants National Bank of Mobile, 325 S.W.2d 229, 231
(Civ.App.1959), Bott v. Am. Hydrocarbon Corp., 441 F.2d 896, 900 (5th Cir. 1971), and Citibank, Nat. Ass'n v.
London, 526 F. Supp. 793, 805 (S.D. Tex. 1981).

Under Ohio R.C. 2305.08, partial payments extend the statute of limitations "after such payment,
acknowledgment, or promise."

So, measured under the four year limit of Civil Practice & Remedies Code § 16.004, the bar date must be
measured from the last payment date and extends to 9/14/20; thus, the complaint filed August 26, 2019 is not
untimely.


Michael D. Slodov, Esq.
Javitch Block LLC
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mslodov@jbllc.com

This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will
be used for that purpose.




From: tylerhickle@hicklelegal.com <tylerhickle@hicklelegal.com>
Sent: Wednesday, September 4, 2019 11:11 AM
To: Michael Slodov
Subject: RE: Gilani v Javitch Block LLC 1:19-cv-00827-LY

Mr. Slodov,
                                                           1
Please call me Tyler.

Thank you for providing these documents. I have no interest in pushing a losing case. I will get with my client
and see what he has to say.

Something does jump out at me.

Paragraph 8 of the suit says the default date was March 29, 2015. If the lawsuit was filed August 26, 2019, does
JB have a SOL problem? I'd have to amend or replead but that easily done.


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Tyler Hickle
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4005C Banister Lane
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Austin, TX 78704
tylerhickle@hicklelegal.com


 -------- Original Message --------
 Subject: Re: Gilani v Javitch Block LLC 1:19-cv-00827-LY
 From: Michael Slodov <MSlodov@JBandR.com>
 Date: Wed, September 04, 2019 9:50 am
 To: "tylerhickle@hicklelegal.com" <tylerhickle@hicklelegal.com>

 Mr. Hickle -


 Per our call this morning, see documents attached identified as JBLLC 001-025.

 I was informed that the complaint, appearing at JBLLC 021-025, was filed August 26, 2019 in
 CCL#2, case no. 19-1287-C26.

 Please confirm receipt.

 Also, please review and advise how you wish to proceed.


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 ________________________________
 From: Michael Slodov
                                                        2
Sent: Wednesday, September 4, 2019 9:22 AM
To: tylerhickle@hicklelegal.com
Subject: Gilani v Javitch Block LLC 1:19-cv-00827-LY


Mr. Hickle -


Following up on my call yesterday, please call me at your earliest convenience to discuss the
above-matter, and the claim which is the subject of Exhibit 1 to your complaint.


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and use of the addressee(s); it constitutes a communication from a debt collector; federal law
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from your system.




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